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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-161 (RBW)
                                     )
DUSTIN BYRON THOMPSON and            )
ROBERT LYON,                         )
                                     )
                  Defendants.        )
____________________________________ )

                                              ORDER

       In accordance with the oral rulings issued by the Court at the status hearing held on

August 4, 2021, via teleconference, it is hereby

       ORDERED that, on October 18, 2021, at 9:00 a.m., the parties shall appear before the

Court for a status hearing, via teleconference, by calling 1-877-873-8017 and entering the

Court’s access code (8583213) followed by the pound key (#). It is further

       ORDERED that, as to the defendant Dustin Thompson, with the defendant’s and the

government’s consent, the time from August 4, 2021, to October 18, 2021, is excluded under the

Speedy Trial Act, in light of the fact that the defendant and his counsel require additional time to

review the discovery in this case. It is further

       ORDERED that, as to the defendant Robert Lyon, with the defendant’s and the

government’s consent, the time from August 4, 2021, to October 18, 2021, is excluded under the

Speedy Trial Act, in light of the fact that the defendant and his counsel require additional time to

review the discovery in this case.
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SO ORDERED this 4th day of August, 2021.




                                       REGGIE B. WALTON
                                       United States District Court Judge
